Bradford J. Sandler, Esq. (NY Bar No. 4499877)
Ilan D. Scharf, Esq. (NY Bar No. 4042107)
Jason S. Pomerantz, Esq. (CA Bar No. 157216)
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, New York 10017
Telephone: (212) 561-7700
Facsimile: (212) 561-7777

Counsel to Plaintiff RDC Liquidating Trust

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK


 In re:                                                        Chapter 11

 ROCHESTER DRUG CO-OPERATIVE, INC.                             Case No. 20-20230 (PRW)

                              Debtor.



 Advisory Trust Group, LLC, as trustee of the RDC              Adv. Proc. No. 22-02055 (PRW)
 LIQUIDATING TRUST,

                              Plaintiff,
           v.

 SANOFI US CORPORATION; SANOFI-AVENTIS
 U.S. L.L.C.,
                   Defendants.


                STIPULATION OF DISMISSAL OF ADVERSARY PROCEEDING


          Plaintiff Advisory Trust Group, LLC, in its capacity as the Liquidating Trustee of the

RDC Liquidating Trust, and defendants Sanofi US Corporation and Sanofi-Aventis U.S. L.L.C.

(together, the “Parties”), have entered into a settlement agreement that resolves the claims

asserted in the above-captioned adversary proceeding. Accordingly, the Parties hereby stipulate,




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pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, made applicable to this

adversary proceeding by Rule 7041 of the Federal Rules of Bankruptcy Procedure, to the

dismissal with prejudice of this adversary proceeding, with each party to bear its own attorneys’

fees and costs.



  STIPULATED AND AGREED:

  Dated: July 26, 2023                                 Dated: July 26, 2023

  PACHULSKI STANG ZIEHL & JONES LLP                    TROUTMAN PEPPER HAMILTON
                                                       SANDERS LLP


  /s/ Ilan D. Scharf                                   /s/ Evelyn J. Meltzer
  Bradford J. Sandler (NY Bar No. 4499877)             Evelyn J. Meltzer (DE No. 4581)
  Ilan D. Scharf (NY Bar No. 4042107)                  (admitted pro hac vice)
  Jason S. Pomerantz (CA Bar No. 157216)               Hercules Plaza, Suite 5100
  780 Third Avenue, 34th Floor                         1313 N. Market Street
  New York, NY 10017                                   Wilmington, DE 19801
  Telephone: (212) 561-7700                            Telephone: (302) 777-6500
  Email: bsandler@pszjlaw.com                          Email: evelyn.meltzer@troutman.com
             ischarf@pszjlaw.com
             jspomerantz@pszjlaw.com                   Counsel to Defendants Sanofi US Corporation
                                                       and Sanofi-Aventis U.S. L.L.C.
  Counsel to Plaintiff RDC Liquidating Trust



SO ORDERED

DATED: ________________, 2023                        ______________________________
      Rochester, New York                            HON. PAUL R. WARREN
                                                     United States Bankruptcy Judge




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